1          Edward J. Maney
           Chapter 13 Trustee
2          101 N. First Ave., Suite 1775
           Phoenix, Arizona 85003
3          Telephone (602) 277-3776
           ejm@maney13trustee.com
4
                                   IN THE UNITED STATES BANKRUPTCY COURT
5                                          FOR THE DISTRICT OF ARIZONA

6          In re:                                          )       CHAPTER 13 PROCEEDINGS
                                                           )
7                                                          )       CASE NO. # 2: 20-02389-PS
                JU JUAN TIFFANY APPLING,                   )
8                                                          )       TRUSTEE'S EVALUATION AND
                                                           )       RECOMMENDATION(S) REPORT WITH
9                                                          )       NOTICE OF POTENTIAL DISMISSAL IF
                                                           )       CONDITIONS ARE NOT SATISFIED
10                                                         )       RE: CHAPTER 13 PLAN
                                           (Debtor(s)      )       docket #24      filed April 22, 2020
11

12                  Edward J. Maney, Trustee, has analyzed the Debtor’s Chapter 13 Plan and supporting

13         documents and submits the following evaluation and recommendation(s):
14
      General requirements:
15

16
           a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                  all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                    the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                  submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19     b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                    amended plan or motion for moratorium.
20
       c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                  Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                    copies of their federal and state income tax returns for every year during the duration of the
23                  Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24     e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                    Order shall not constitute an informal proof of claim for any creditor.”
25
      f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                  remit all payments on or before the stated due date each month. Debtor is advised that when
                    payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                    a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                  Case can be discharged. This requirement is effective regardless of Plan payments
                    suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

     Case 2:20-bk-02389-PS               Doc 41     Filed 07/08/20 Entered 07/08/20 12:22:33              Desc
                                                        Page 1 of 4
1                                                                         Trustee’s Recommendation
                                                                          Case No.# 2: 20-02389-PS
2                                                                         Page #2

3
       g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
4           on all required tax filings and any domestic support orders.
5      h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
            Confirming, that they are current on all payments that have come due on any Domestic Support
6           Orders since the filing of their case and that they are current on all required tax return
            filings [pursuant to 11 U.S.C. §1308].
7
       i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
8           accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
            Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
9
            Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
10          counsel.

11

12    Specific Recommendations:

13    1.    The Trustee requires the debtors supply a copy of statements that reveals the balance on
            hand - in all three of her financial/bank accounts - on the date of the filing of her case.
14
      2.    The Arizona Department of Revenue's amended proof of claim [#13] dated May 28, 2020
15          indicates Debtor has not filed income tax returns for 2017, 2018 and 2019. The Trustee requires
            Debtor to immediately prepare and file all unfiled tax returns. Failure to file said returns or the
16          required Affidavit within 30 days from the date of this Trustee's Recommendation and
            providing a stamped copy of said returns may result in the Trustee lodging an Order
17          automatically dismissing Debtor's case.
18
      3.    The Internal Revenue Service's proof of claim [#3] dated March 18, 2020 indicated Debtor has
19          not filed income tax returns for 2017, 2018 and 2019. The Trustee requires Debtor to
            immediately prepare and file all unfiled tax returns. Failure to file said returns or the required
20          Affidavit within 30 days from the date of this Trustee's Recommendation and providing a
            stamped copy of said returns may result in the Trustee lodging an Order automatically
21          dismissing Debtor's case.

22    4.    The Trustee informs the debtor that should the 2019 returns (see items #2 and #3 above)
            reveal significant tax refunds, if allowed to continue, this would constitute a diversion of
23          disposable income. In that case, unless the plan is confirmed at 100% repayment to all
            creditors the Trustee would require the Debtor(s) adjust payroll tax deductions to prevent
24          over- or under-withholding, amend Schedule I increasing Plan payments accordingly and
            provide two consecutive paystubs to verify this has been corrected or turn over tax refunds
25          2020, 2021, 2022, 2023 and 2024 of the Plan as supplemental Plan payments.
26    5.    The Plan proposes payment of a priority claim to the State of Michigan who has filed no proof of
            claim. The Trustee requires that the Order Confirming Plan provides language as follows: “The
27          Trustee has authority to pay on the priority debt owed to the State of Michigan even though the
            creditor has filed no proof of claim, but the Plan and this Order are not to be considered an
28
            informal proof of claim for any creditor.”

     Case 2:20-bk-02389-PS       Doc 41     Filed 07/08/20 Entered 07/08/20 12:22:33              Desc
                                                Page 2 of 4
1                                                                      Trustee’s Recommendation
                                                                       Case No.# 2: 20-02389-PS
2                                                                      Page #3

3

4
      6.    Plan payments are currently delinquent $500 with a payment of $500 coming due July 8, 2020.
5

6

7                  In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
8           Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
9            General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, approximately $6,380 or an estimated 5% of general
10          unsecured claims, subject to timely filed and allowed claims. Chapter 7 reconciliation
            requirement must be met given debtors’ scheduled equity in non-exempt property at petition
11          date. You are hereby advised that the Trustee may lodge an Order of Dismissal should
            Debtor fail to resolve item(s) #1, #2, #3, #6 above and submit a Stipulated Order
12          Confirming to the Trustee for review and signature or request a hearing within 30 days
            from the date of the mailing of this Trustee's Recommendation.
13

14

15
            Date See Electronic Signature Block
16

17
                                                                EDWARD J. MANEY,
18                                                              CHAPTER 13 TRUSTEE

19

20

21

22
                                                              Edward J. Digitally signed
                                                                        by Edward J.
23                                                            Maney, Maney, Esq.
                                                                        Date: 2020.07.06
24
                                                        By:   Esq.      11:17:54 -07'00'
                                                               _______________________________
                                                                Edward J. Maney ABN 12256
25
                                                                CHAPTER 13 TRUSTEE
26                                                              101 North First Ave., Suite 1775
                                                                Phoenix, Arizona 85003
27                                                              (602) 277-3776
                                                                ejm@maney13trustee.com
28


     Case 2:20-bk-02389-PS      Doc 41    Filed 07/08/20 Entered 07/08/20 12:22:33           Desc
                                              Page 3 of 4
1                                                                           Trustee’s Recommendation
                                                                            Case No.# 2: 20-02389-PS
2                                                                           Page #4

3

4

5           Copies of the forgoing
            mailed on [see electronic signature],
6           to the following:

7

8

9
            Ju Juan Tiffany Appling
10          1121 North 44th Street, Apt. #1079
            Phoenix, Arizona 85008
11          Debtor

12

13
            Thomas A. McAvity, Esq.
14          4742 North 24th Street
            Suite #300
15          Phoenix, Arizona 85016
            Debtor’s counsel
16

17

18

19

20

21
                   Susan                  Digitally signed by
                                          Susan Havermale

                   Havermale              Date: 2020.07.08
                                          11:47:54 -07'00'
22          By:
                     Trustee’s Clerk
23

24

25

26

27

28


     Case 2:20-bk-02389-PS          Doc 41          Filed 07/08/20 Entered 07/08/20 12:22:33   Desc
                                                        Page 4 of 4
